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       1                     UNITED STATES BANKRUPTCY COURT
       2                     EASTERN DISTRICT OF CALIFORNIA
       3                           SACRAMENTO DIVISION
       4
           In re                         )   Case No. 19-21640-B-11
       5                                 )
           DEBORA LEIGH MILLER-ZURANICH, )
       6                                 )
                                         )
       7             Debtor(s).          )
                                         )
       8                                 )
                                         )
       9                                 )
           ______________________________)
      10
      11                      ORDER TO (1) FILE STATUS REPORT;
                                       (2) ATTEND PRELIMINARY STATUS
      12                                   CONFERENCE; AND
                                       (3) DISCLOSE SINGLE ASSET REAL ESTATE
      13
                 The following dates shall apply in this chapter 11 case:
      14
                 Last date by which the debtor shall serve a copy of this
      15         order on the persons designated below: September 6, 2019.
      16         Last date by which the debtor must declare whether the
                 debtor holds, owns, or possesses any legal or equitable
      17         interest in single asset real estate (see 11 U.S.C. §§
                 362(d)(3) & 101(51B)): September 13, 2019.
      18
                 Last date by which the debtor shall file and serve a
      19         preliminary status report: September 20, 2019.
      20         Preliminary chapter 11 status conference: October 8, 2019,
                 at 2:00 p.m. If a preliminary status report is timely filed
      21         and is sufficiently detailed, the status conference may be
                 continued 60 days.
      22
      23                  CHAPTER 11 PRELIMINARY STATUS REPORT
      24        Service of this Order. The debtor shall serve this order by
           the date stated above upon the following persons: (1) the United
      25   States trustee; (2) the holders of the 20 largest unsecured
           claims, excluding insiders; (3) all general partners, limited
      26   partners, or shareholders of the debtor; (4) all holders of
           secured claims; (5) all parties to executory contracts and
      27   unexpired leases; and (6) all parties that request special
           notice. If any of the foregoing persons is represented by an
      28   attorney known to the debtor, the attorney shall also be served
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       1   with this order. The debtor shall file a proof of service no
           later than three court days after service of this order.
       2
                Service of the Preliminary Status Report. The debtor shall,
       3   by the date set forth above, file a preliminary status report and
           serve it on the same persons served with this order.
       4
                Contents of Preliminary Status Report. The preliminary
       5   status report shall contain an overview of the case, including
           the following matters, under the following headings, and in the
       6   following order:
       7             (1) History of the Debtor. The event(s) that caused
           the debtor to file the petition;
       8             (2) Type of Plan. Whether the plan will be one of
           liquidation or reorganization;
       9             (3) Cramdown. Whether the debtor intends to confirm
           the plan under 11 U.S.C. § 1129(a)(8) or 11 U.S.C. § 1129(b);
      10             (4) Valuation of Assets. Whether the debtor
           anticipates any litigation concerning the valuation of assets;
      11             (5) Cash Collateral and Adequate Protection. Whether
           the debtor anticipates any motions concerning cash collateral and
      12   adequate protection issues;
                     (6) Adversary Proceedings. Whether the debtor
      13   anticipates filing any adversary proceedings that will be
           necessary to confirm or implement a plan. The debtor shall
      14   include a general description of the underlying facts that will
           give rise to the proceeding as well as the bankruptcy code
      15   sections under which the proceedings will be filed and who the
           anticipated parties will be;
      16             (7) Environmental Issues. Whether the estate includes
           any property that could potentially give rise to claims or
      17   litigation based upon federal or state environmental laws;
                     (8) Objections to Claims. Whether the debtor will
      18   object to any claims, the number of objections that will be
           filed, and the aggregate amount of the disputed claims;
      19             (9) Post-confirmation Sale of Assets. Whether the
           plan will include the post-confirmation sale of any assets that
      20   will require the involvement of the court;
                     (10) Anticipated Professional Fees. Listed by
      21   profession, name, and expected amount of compensation; and
                     (11) Small Business Debtor. Whether the debtor is a
      22   small business debtor and whether the debtor intends to ask that
           no committee of unsecured creditors be appointed. See 11 U.S.C.
      23   §§ 101(51C), 101(51D), 1102(a)(3), & 1121(e).
      24        Sanctions for Failure to Comply. Failure to comply with
           this order may result in sanctions including dismissal,
      25   conversion, or the appointment of a trustee. Filing a
           preliminary status report with perfunctory conclusions and no
      26   meaningful factual detail does not comply with this order. The
           court expects to receive sufficient information to understand the
      27   financial problems which precipitated the filing of the petition,
           the debtor's anticipated plan of reorganization, and the types of
      28   contested matters and adversary proceedings that will likely be
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       1   filed. With this information, the court may set the deadlines
           described below and determine if it will give preliminarily
       2   approval of a disclosure statement without a hearing and give
           final approval of the disclosure statement at the hearing to
       3   confirm the plan. In appropriate circumstances, the court may
           also permit the plan and disclosure statement to be combined into
       4   one document.
       5               CHAPTER 11 PRELIMINARY STATUS CONFERENCE
       6        The preliminary status conference will be held on the date
           set forth above, at the United States Bankruptcy Court, Robert T.
       7   Matsui U.S. Courthouse, 501 I Street, Sixth Floor, Courtroom 32,
           Sacramento, California. The debtor and counsel shall personally
       8   appear at this conference.
       9        At the preliminary status conference, the court may enter
           orders and set deadlines as follows:
      10
                     (1) Combined Plan and Disclosure Statement. If
      11   appropriate, the court may permit the debtor to combine the plan
           and disclosure statement into one document. In such a case, the
      12   court will preliminarily approve the disclosures contained in the
           combined document. After preliminary approval, the combined
      13   document may be served and set for a hearing to consider final
           approval of the disclosures and confirmation of the plan.
      14             (2) Preliminary Approval of Disclosure Statement. If
           the court does not permit the plan and disclosure statement to be
      15   combined into one document, it may permit the debtor to obtain
           preliminary approval of a separate disclosure statement without a
      16   hearing. In such instances, after preliminary approval, the
           disclosure statement and plan may be served and set for a hearing
      17   to consider final approval of the disclosure statement and
           confirmation of the plan.
      18             (3) Date for Filing of the Plan and Disclosure
           Statement. The court may set a deadline for the debtor’s filing
      19   of a proposed disclosure statement and plan. The court
           anticipates that these documents will be filed in most cases
      20   within thirty to ninety days after the preliminary status
           conference.
      21             (4) Date of Hearing on the Disclosure Statement. If
           the court will not preliminarily approve the disclosure
      22   statement, it may set a deadline for a hearing to consider
           approval of the disclosure statement.
      23             (5) Date of Hearing to Confirm the Plan. A deadline
           may be set for confirmation of the plan and, if the court will
      24   preliminarily approve the disclosure statement, for final
           approval of the disclosure statement.
      25             (6) Executory Contracts. The court may set a deadline
           for the debtor to accept or reject executory contracts and
      26   unexpired leases.
      27        Telephonic Appearances. A party other than the debtor and
           the debtor’s counsel may appear by telephone provided that the
      28   party makes the necessary arrangements with Court Call Conference
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       1   at (866) 582-6878 by 4:00 p.m. of the prior court day.
           Telephonic appearances are optional. A fee is charged by Court
       2   Conference for this service. That fee will be borne by the party
           electing to appear by telephone.
       3
                Subsequent Status Conferences. Counsel may file a status
       4   report one week before the date of a continued status conference.
           If the court is satisfied with the contents of the report, the
       5   status conference may be continued for a period to be determined
           by the court.
       6
                Motions to Convert, etc., at the Preliminary Status
       7   Conference. Any party may request at the preliminary status
           conference that the case be converted to another chapter or
       8   dismissed, or that a chapter 11 trustee be appointed, provided
           that a motion requesting such relief is filed and served on those
       9   persons entitled to notice (see Fed. R. Bankr. P. 2002(a)(4)) at
           least seven calendar days prior to the preliminary status
      10   conference. Opposition may be presented orally at the
           preliminary status conference.
      11
                 DEBTOR'S DECLARATION CONCERNING SINGLE ASSET REAL ESTATE
      12
                The debtor shall file a declaration stating whether the
      13   debtor has any legal or equitable interest in "single asset real
           estate," as defined in 11 U.S.C. §101(51B), by the date set forth
      14   above.
      15        A party in interest may contest the debtor's claim that it
           does or does not own "single asset real estate" by motion set for
      16   hearing in accordance with applicable Federal Rules of Bankruptcy
           Procedure and Local Bankruptcy Rule 9014-1. Any response, as
      17   well as any reply, shall be served and filed in accordance with
           Local Bankruptcy Rule 9014-1. However, any motion contesting the
      18   debtor’s declaration regarding single asset real estate shall be
           set for hearing by the objecting party on a date not more than
      19   120 days after the date of the petition.
      20
      21
                   August 28, 2019
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       1                            INSTRUCTIONS TO CLERK OF COURT
                                             SERVICE LIST
       2
                  The Clerk of Court is instructed to send the attached document, via the BNC, to the
       3   following parties:
       4   Peter L. Cianchetta
           8788 Elk Grove Blvd. Ste. 2A
       5   Elk Grove CA 95624
       6
           Robin S. Tubesing
       7   2500 Tulare St #1401
           Fresno CA 93721
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